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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 13-60289-CIV-ROSENBAUM/HUNT


  DIAMOND A. KJELLBERG,

                 Plaintiff,

  v.

  PINNACLE ASSET GROUP, LLC,

                 Defendant.
                                                     /

                      FINAL ORDER OF DISMISSAL WITH PREJUDICE

         This matter is before the Court upon the parties’ Joint Stipulation for Dismissal with

  Prejudice [D.E. 12]. Pursuant to Rule 41(a)(1)(A)(ii), Fed. R. Civ. P., it is hereby ORDERED and

  ADJUDGED that the parties’ stipulation is approved, and the above-styled case is hereby

  DISMISSED WITH PREJUDICE. Each party is to bear its own attorneys’ fees and costs except

  as otherwise agreed by the parties. To the extent not otherwise disposed of, all pending motions are

  hereby DENIED AS MOOT. The Clerk is directed to CLOSE this matter.

         DONE and ORDERED in Fort Lauderdale, Florida, this 12th day of June 2013.



                                                         ROBIN S. ROSENBAUM
                                                         UNITED STATES DISTRICT JUDGE

  Copies furnished to:

  Counsel of record
